     Case 6:20-bk-10759-WJ        Doc 70     Filed 02/11/22        Entered 02/11/22 07:12:00      Desc
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1     ROD DANIELSON
      CHAPTER 13 TRUSTEE
2     3787 University Avenue
      Riverside, CA 92501
3     Tel.: (951) 826-8000
      Fax: (951) 826-8090
4
                               UNITED STATES BANKRUPTCY COURT
5                      CENTRAL DISTRICT OF CALIFORNIA - RIVERSIDE DIVISION
6     In re:                                                   Chapter 13
7                                                              Case No.: 6:20-bk-10759-WJ
      TOMASO GIANNELLI, and
8     MELANIE GIANNELLI
                                                               NOTICE OF INTENT TO FILE TRUSTEE'S
                                                               FINAL REPORT AND ACCOUNT, OBTAIN
9
                                                               DISCHARGE OF TRUSTEE, AND CLOSE
10                                                             CASE
                                    Debtor(s).
11                                                             (COMPLETED CASE)
12
      TO: THE ABOVE NAMED DEBTOR(S), CREDITORS, THE UNITED STATES TRUSTEE FOR THE
13 CENTRAL DISTRICT OF CALIFORNIA AND ALL OTHER PARTIES IN INTEREST:
14
           NOTICE IS HEREBY GIVEN that the Chapter 13 Trustee in the above-captioned case whose
15 name   and address is set forth in the upper left-hand corner of this notice, intends to file a Final Report,
   a summary of which is attached hereto; and
16
           NOTICE IS FURTHER GIVEN that in the event no objection is filed within thirty (30) days
17 after the date of this Notice, the Court will discharge the Trustee and close the case (see 11 U.S.C. 350
18 (a) and Rule 5009, F.R.B.P.); and
19        NOTICE IS FURTHER GIVEN that any objection together with a notice setting forth the date,
   time and location of the hearing on the objection, shall be filed with this Court and served upon the
20 Chapter 13 Trustee at the address set forth above, upon the Debtor(s) and Debtor's attorney, if any, and
21 upon the Office of the United States Trustee.
22         Failure to schedule a hearing and serve notice thereof shall be deemed a waiver/withdrawal of
   any objection, and the case will be closed accordingly. Filing a claim or amended claim does not
23 constitute filing an "objection" for purposes of case closing. Contact your attorney for more
   information.
24
25             Executed on 2/11/2022 at Riverside, California.

26
27



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                                           UNITED STATES BANKRUPTCY COURT
                                   CENTRAL DISTRICT OF CALIFORNIA - RIVERSIDE DIVISION

IN RE: TOMASO GIANNELLI                        MELANIE GIANNELLI                        Case No.: 6:20-bk-10759-WJ
       50 BOWRIDGE DR.                         50 BROWRIDGE DR.                         Judge: Wayne E. Johnson
       RICHMOND HILL, CA 31324                 RICHMOND HILL, CA 31324

                                     DRAFT FINAL REPORT AND ACCOUNT
This case was: COMPLETED                                                                                    SSN#1 - XXX-XX-0811
                                                                                                            SSN#2 - XXX-XX-0129

 This Case was:                           The Plan was:                             The Case was:
 commenced on 01/30/2020                  Confirmed on 03/25/2020                   concluded on 02/10/2022

        The trustee has maintained a detailed record of all receipts, including the source or other identification of each receipt
and of all distributions through the above referenced Plan.

RECEIPTS:Amounts paid to the trustee by or for the Debtor for the benefit of creditors:                                      $202,960.00

                                                    DISTRIBUTIONS TO CREDITORS

                                                                                 CLAIM                AMOUNT        INTEREST      BALANCE
NAME OF CREDITOR                     DESCRIPTION                CLASS         AMOUNT                   PAID          PAID           DUE
AMERICAN HONDA FINANCE CORPORATION 19 HONDA ACCORD D/P         SECURED          30,010.28                   0.00          0.00          0.00
BANK OF AMERICA NA                                             UNSECURED        20,074.58              20,074.58          0.00          0.00
CITIBANK NA                           BEST BUY N/S             UNSECURED         1,232.82               1,232.82          0.00          0.00
GREENSKY, LLC                                                  UNSECURED         6,777.08               6,777.08          0.00          0.00
JEFFERSON CAPITAL SYSTEMS, LLC        ASHLEY FURNITURE         UNSECURED         2,412.44               2,412.44          0.00          0.00
JPMORGAN CHASE BANK NA                                         UNSECURED         8,198.89               8,198.89          0.00          0.00
JPMORGAN CHASE BANK NA                                         UNSECURED         7,444.86               7,444.86          0.00          0.00
JPMORGAN CHASE BANK NA                                         UNSECURED          7,011.69              7,011.69          0.00          0.00
JPMORGAN CHASE BANK NA                                         UNSECURED         4,571.89               4,571.89          0.00          0.00
LES SCHWAB TIRE CENTERS OF CENTRAL CA, INC                     UNSECURED         1,302.24               1,302.24          0.00          0.00
LVNV FUNDING LLC                                               UNSECURED        21,047.39              21,047.39          0.00          0.00
LVNV FUNDING LLC                                               UNSECURED        23,175.51              23,175.51          0.00          0.00
LVNV FUNDING LLC                                               UNSECURED            276.59                276.59          0.00          0.00
OAKTREE LAW *                         ATTY FEES                ATTORNEY FEE - WJ 1,500.00               1,500.00          0.00          0.00
PORTFOLIO RECOVERY ASSOCIATES LLC     N/S                      UNSECURED         7,414.66               7,414.66          0.00          0.00
PORTFOLIO RECOVERY ASSOCIATES LLC     N/S                      UNSECURED         2,491.00               2,491.00          0.00          0.00
QUICKEN LOANS INC                     1ST TD ARRS - PAID THRU ESCROW
                                                               MORTGAGE ARREARS 143.56                    143.56          0.00          0.00
SYNCHRONY BANK                        PAYPAL                   UNSECURED         8,300.03               8,300.03          0.00          0.00
TD AUTO FINANCE LLC                   16 HONDA CRV D/P         SECURED          16,778.98                   0.00          0.00          0.00
US BANK                                                        NOT FILED              0.00                  0.00          0.00          0.00
USAA FEDERAL SAVINGS BANK                                      UNSECURED        42,462.52              42,462.52          0.00          0.00
USAA FEDERAL SAVINGS BANK                                      UNSECURED        15,946.71              15,946.71          0.00          0.00
USAA FEDERAL SAVINGS BANK                                      NOT FILED              0.00                  0.00          0.00          0.00
WELLS FARGO BANK NA                                            NOT FILED              0.00                  0.00          0.00          0.00
TOMASO GIANNELLI                      REFUND                   REFUND                 0.00             11,659.46          0.00          0.00

                                               SUMMARY OF CLAIMS ALLOWED AND PAID
                       SECURED          PRIORITY        GENERAL              LATE         SPECIAL                  TOTAL          TOTAL PAID
                                                                                                                                  PRIN. & INT.
AMT. ALLOW             46,932.82         1,500.00      180,140.90                         11,659.46         240,233.18
                                                                                                                                   193,443.92
PRIN. PAID                143.56         1,500.00      180,140.90                         11,659.46         193,443.92
INT. PAID                   0.00             0.00            0.00                                                 0.00

                                       DISBURSEMENTS PURSUANT TO AN ORDER OF THE COURT

DEBTORS' ATTORNEY                                                            FEE ALLOWED               FEE PAID THROUGH PLAN
OAKTREE LAW                                                                          0.00                           0.00

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                                                                                  MELANIE GIANNELLI

                                       COURT COSTS AND OTHER EXPENSES OF ADMINISTRATION

          FILING FEE                     TRUSTEE EXP. &                         OTHER
          & DEPOSIT:                   COMPENSATION FUND:                       COST:                          TOTAL:
              0.00                          9,516.08                             0.00                          9,516.08




                                             NOTICE Re: Accuracy of Final Report

        The Final Report in this case will be filed not less than 30 days from today's date. The financial accounting portion of the
Final Report represents an accurate summary of the fiscal transactions in this case. However, other information contained in the
Final Report, including the number and dates of debtor defaults and plan modifications, "claim asserted" amounts, value of
assets exempted or abandoned by court order, etc. may not reflect all information in the court's records, particularly in older or
dismissed/converted cases. You may wish to log onto the court's document website at www.pacer.com, if you wish to verify the
accuracy of non-financial information in the Final Report. There is a charge for accessing this website.




DATED: February 11, 2022




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  In re:     TOMASO GIANNELLI                                                                      Chapter: 13
             MELANIE GIANNELLI
                                                                                     Debtor(s)     Case Number:       6:20-bk-10759-WJ

                                           PROOF OF SERVICE OF DOCUMENT
 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address 3787
 University Avenue, Riverside, CA 92501.

 The foregoing document described NOTICE OF INTENT TO FILE TRUSTEE'S FINAL REPORT AND ACCOUNT,
 OBTAIN DISCHARGE OF TRUSTEE AND CLOSE CASE will be served or was served (a) on the judge in chambers in
 the form and manner required by LBR 5005-2(d); and (b) in the manner indicated below:
 I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING ("NEF") - Pursuant to controlling General
 Orders(s) and Local Bankruptcy Rule(s) ("LBR"), the foregoing document will be served by the court via NEF and
 hyperlink to the document. On 02/11/2022 I checked the CM/ECF docket for this bankruptcy case or adversary
 proceeding and determined that the following person (s) are on the Electronic Mail Notice List to receive NEF transmission
 at the email address(es) indicated below:
 julie@oaktreelaw.com


                                                                                            Service Information continued on attached page

 II. SERVED BY U.S. MAIL OR OVERNIGHT MAIL (indicate method for each person or entity served ):
 On 2/11/2022 I served the following person(s) and/or entity(ies) at the last known address(es) in this bankruptcy case or
 adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States Mail, first class,
 postage prepaid, and/or with an overnight mail service addressed as follows. Listing the judge here constitutes a
 declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.




                                                                                        X Service Information continued on attached page

 III. SERVED BY PERSONAL DELIVERY, FACSIMILE TRANSMISSION OR EMAIL (Indicate method for each person or
 entity served): Pursuant to F.R.Civ.P.5 and/or controlling LBR, on ________________ I served the following person (s)
 and/or entity(ies) by personal delivery, or (for those who consented in writing to such service method ), by facsimile
 transmission and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on the judge
 will be completed no later than 24 hours after the document is filed.




                                                                                            Service Information continued on attached page

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.



           2/11/2022                                    TONY HO
              Date                                      Type Name




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
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In re:   TOMASO GIANNELLI                                                                        Chapter: 13
         MELANIE GIANNELLI
                                                                              Debtor(s)          Case Number:       6:20-bk-10759-WJ

                                          PROOF OF SERVICE - CONTINUED
TOMASO GIANNELLI                               MELANIE GIANNELLI                                   US BANK
50 BOWRIDGE DR.                                50 BROWRIDGE DR.                                    ATTN: BANKRUPTCY
RICHMOND HILL, CA 31324                        RICHMOND HILL, CA 31324                             800 NICOLLET MALL
                                                                                                   MINNEAPOLIS, MN 55402

USAA FEDERAL SAVINGS BANK                      WELLS FARGO BANK NA                                 OAKTREE LAW *
ATTN: BANKRUPTCY                               ATTN: BANKRUPTCY                                    10900 183RD STREET
10750 MCDERMOTT FREEWAY                        1 HOME CAMPUS MAC X2303-01A                         STE 270
SAN ANTONIO,, TX 78288                         DES MOINES, IA 50328                                CERRITOS, CA 90703

AMERICAN HONDA FINANCE                         LES SCHWAB TIRE CENTERS OF                          JPMORGAN CHASE BANK NA
CORPORATION                                    CENTRAL CA, INC                                     PO BOX 15368
PO BOX 168088                                  PO BOX 5350                                         WILLMINGTON, DE 19850
IRVING, TX 75016-8088                          BEND, OR 97708

QUICKEN LOANS INC                              GREENSKY, LLC                                       USAA FEDERAL SAVINGS BANK
635 WOODWARD AVE                               PO BOX 2153, DEPT #3025                             C/O WEINSTEIN & RILEY, PS
DETROIT, MI 48226                              BIRMINGHAM, AL 35287-3025                           PO BOX 3978
                                                                                                   SEATTLE, WA 98124-3978

BANK OF AMERICA NA                             LVNV FUNDING LLC                                    JEFFERSON CAPITAL SYSTEMS,
PO BOX 15102                                   C/O RESURGENT CAPITAL                               LLC
WILMINGTON, DE 19886-5102                      SERVICES                                            PO BOX 772813
                                               PO BOX 10587                                        CHICAGO, IL 60677-2813
                                               GREENVILLE, SC 29603-0587
SYNCHRONY BANK                                 CITIBANK NA                                         PORTFOLIO RECOVERY
C/O PRA RECEIVABLES                            6716 GRADE LN                                       ASSOCIATES LLC
MANAGMENT LLC                                  BLDG 9, STE 910-PY DEPT                             PO BOX 12914
PO BOX 41031                                   LOUISVILLE, KY 40213-3439                           NORFOLK, VA 23541
NORFOLK, VA 23541
TD AUTO FINANCE LLC
PO BOX 16041
LEWISTON, ME 04243-9523




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
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